Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 1 of 53            FILED
                                                                  2017 May-05 PM 04:51
                                                                  U.S. DISTRICT COURT
                                                                      N.D. OF ALABAMA




                 EXHIBIT A
                               Case 7:17-cv-00732-RDP
                                              ALABAMA Document 1-1 Filed
                                                        SJIS CASE  DETAIL05/05/17 Page 2 of 53
                                                                                                                        PREPARED FOR: JOHN BOLUS
                          County: 63     Case Number: CV-2017-900409.00                          Court Action:
                          Style: KENNETH WAYNE RICE V. SETERUS INC. ET AL
                                                                                                                                                          Real Time



Case
     Case Information
  County:          63-TUSCALOOSA              Case Number:         CV-2017-900409.00                           Judge:          JHR:JAMES H. ROBERTS JR.
  Style:           KENNETH WAYNE RICE V. SETERUS INC. ET AL
  Filed:           04/03/2017                 Case Status:         ACTIVE                                      Case Type: NEGLIGENCE-GENERAL
  Trial Type:      JURY                        Track:                                                          Appellate Case:         0
  No of Plaintiffs: 1                         No of Defendants:    4




       Damages
  Damage Amt:      0.00                       Punitive Damages:             0.00                               General Damages:            0.00
  No Damages:                                 Compensatory Damages:         0.00
  Pay To:                                     Payment Frequency:                                               Cost Paid By:


     Court Action
  Court Action Code:                              Court Action Desc:                                          Court Action Date:
  Num of Trial days:            0                 Num of Liens:        0                                      Judgment For:
  Dispositon Date of Appeal:                      Disposition Judge: :                                        Disposition Type:
  Revised Judgement Date:                         Minstral:                                                   Appeal Date:
  Date Trial Began but No Verdict (TBNV1):
  Date Trial Began but No Verdict (TBNV2):



     Comments
  Comment 1:
  Comment 2:



   Appeal Information
 Appeal Date:                                Appeal Case Number:                                               Appeal Court:
 Appeal Status:                              Orgin Of Appeal:
 Appeal To:                                  Appeal To Desc:                                                   LowerCourt Appeal Date:
 Disposition Date Of Appeal:                                       Disposition Type Of Appeal:


   Administrative Information
 Transfer to Admin Doc Date:                   Transfer Reason:                                    Transfer Desc:
 Number of Subponeas:                          Last Update:        04/03/2017                      Updated By:        AJA




Parties
Party 1 - Plaintiff INDIVIDUAL - RICE KENNETH WAYNE
     Party Information
  Party:           C001-Plaintiff             Name:           RICE KENNETH WAYNE                                               Type:              I-INDIVIDUAL
  Index:           D SETERUS INC.             Alt Name:                                           Hardship:      No            JID:               JHR
  Address 1:       3813 EAST 2ND AVENUE                                                           Phone:         (205) 000-0000
  Address 2:
  Address 2:
  City:             TUSCALOOSA
                              Case 7:17-cv-00732-RDP
                                          State:  AL
                                                     Document 1-1 Filed Zip:
                                                                        05/05/17 35405-0000
                                                                                   Page 3 of  53
                                                                                            Country:                                US
  SSN:              XXX-XX-X999                DOB:                                             Sex:          M             Race:


     Court Action
  Court Action:                                                                                          Court Action Date:
  Amount of Judgement: $0.00                                Court Action For:                            Exemptions:
  Cost Against Party:        $0.00                          Other Cost:         $0.00                    Date Satisfied:
  Comment:                                                                                               Arrest Date:
  Warrant Action Date:                                      Warrant Action Status:                       Status Description:


    Service Information
  Issued:                  Issued Type:                             Reissue:                                Reissue Type:
  Return:                  Return Type:                             Return:                                 Return Type:
  Served:                  Service Type                             Service On:                             Served By:
  Answer:                  Answer Type:                             Notice of No Service:                   Notice of No Answer:


    Attorneys
  Number          Attorney Code Type of Counsel Name                                        Email                                    Phone
  Attorney 1      LAY002                                LAY KENNETH JAMES                   KENNETH.J.LAY@GMAIL.COM                  (205) 323-4123




Party 2 - Defendant BUSINESS - SETERUS INC.
     Party Information
  Party:            D001-Defendant             Name:        SETERUS INC.                                                 Type:      B-BUSINESS
  Index:            C RICE KENNETH             Alt Name:                                        Hardship:     No         JID:       JHR
  Address 1:        C/O CT CORPORATION                                                          Phone:        (205) 000-0000
  Address 2:        2 N. JACKSON ST. STE. 605
  City:             MONTGOMERY                 State:       AL                                  Zip:          36104-0000 Country:   US
  SSN:              XXX-XX-X999                DOB:                                             Sex:                        Race:


     Court Action
  Court Action:                                                                                          Court Action Date:
  Amount of Judgement: $0.00                                Court Action For:                            Exemptions:
  Cost Against Party:        $0.00                          Other Cost:         $0.00                    Date Satisfied:
  Comment:                                                                                               Arrest Date:
  Warrant Action Date:                                      Warrant Action Status:                       Status Description:


    Service Information
  Issued:      04/03/2017 Issued Type:    C-CERTIFIED MAIL          Reissue:                                Reissue Type:
  Return:            Return Type:                                   Return:                                 Return Type:
  Served: 04/07/2017 Service Type C-CERTIFIED MAIL                  Service On:                             Served By:
  Answer:            Answer Type:                                   Notice of No Service:                   Notice of No Answer:




                                              © Alacourt.com       5/4/2017                 2
    Attorneys
                             Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 4 of 53
  Number          Attorney Code Type of Counsel Name                                       Email                                    Phone
  Attorney 1      000000                               PRO SE




Party 3 - Defendant BUSINESS - FEDERAL NATIONAL MORTGAGE ASSOCIATION
     Party Information
  Party:            D002-Defendant            Name:        FEDERAL NATIONAL MORTGAGE ASSOCIATION                        Type:      B-BUSINESS
  Index:            C RICE KENNETH            Alt Name:                                        Hardship:     No         JID:       JHR
  Address 1:        C/O TIMOTHY MAYOPOULOS                                                     Phone:        (205) 000-0000
  Address 2:        3900 WISCONSIN AVE NW
  City:             WASHINGTON                State:       DC                                  Zip:          20016-0000 Country:   US
  SSN:              XXX-XX-X999               DOB:                                             Sex:                        Race:


     Court Action
  Court Action:                                                                                         Court Action Date:
  Amount of Judgement: $0.00                               Court Action For:                            Exemptions:
  Cost Against Party:       $0.00                          Other Cost:         $0.00                    Date Satisfied:
  Comment:                                                                                              Arrest Date:
  Warrant Action Date:                                     Warrant Action Status:                       Status Description:


    Service Information
  Issued:      04/03/2017 Issued Type:   C-CERTIFIED MAIL          Reissue:                                Reissue Type:
  Return:            Return Type:                                  Return:                                 Return Type:
  Served: 04/10/2017 Service Type C-CERTIFIED MAIL                 Service On:                             Served By:
  Answer:            Answer Type:                                  Notice of No Service:                   Notice of No Answer:


    Attorneys
  Number          Attorney Code Type of Counsel Name                                       Email                                    Phone
  Attorney 1      000000                               PRO SE




Party 4 - Defendant BUSINESS - JP MORGAN CHASE BANK
     Party Information
  Party:            D003-Defendant            Name:        JP MORGAN CHASE BANK                                         Type:      B-BUSINESS
  Index:            C RICE KENNETH            Alt Name:                                        Hardship:     No         JID:       JHR
  Address 1:        C/O CT CORPORATION                                                         Phone:        (205) 000-0000
  Address 2:        2 N. JACKSON ST. STE. 605
  City:             MONTGOMERY                State:       AL                                  Zip:          36104-0000 Country:   US
  SSN:              XXX-XX-X999               DOB:                                             Sex:                        Race:




                                             © Alacourt.com       5/4/2017                 3
     Court Action
                             Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 5 of 53
  Court Action:                                                                                          Court Action Date:
  Amount of Judgement: $0.00                                Court Action For:                            Exemptions:
  Cost Against Party:       $0.00                           Other Cost:         $0.00                    Date Satisfied:
  Comment:                                                                                               Arrest Date:
  Warrant Action Date:                                      Warrant Action Status:                       Status Description:


    Service Information
  Issued:      04/03/2017 Issued Type:   C-CERTIFIED MAIL           Reissue:                                Reissue Type:
  Return:            Return Type:                                   Return:                                 Return Type:
  Served: 04/07/2017 Service Type C-CERTIFIED MAIL                  Service On:                             Served By:
  Answer:            Answer Type:                                   Notice of No Service:                   Notice of No Answer:


    Attorneys
  Number          Attorney Code Type of Counsel Name                                        Email                                    Phone
  Attorney 1      000000                                PRO SE




Party 5 - Defendant BUSINESS - MORTGAGE ELECTRONIC REGISTRATION SYSTEMS INC.
     Party Information
  Party:            D004-Defendant             Name:        MORTGAGE ELECTRONIC REGISTRATION SYSTEMS INC.                Type:      B-BUSINESS
  Index:            C RICE KENNETH             Alt Name:                                        Hardship:     No         JID:       JHR
  Address 1:        C/O CT CORPORATION                                                          Phone:        (205) 000-0000
  Address 2:        2 N. JACKSON ST. STE.605
  City:             MONTGOMERY                 State:       AL                                  Zip:          36104-0000 Country:   US
  SSN:              XXX-XX-X999                DOB:                                             Sex:                        Race:


     Court Action
  Court Action:                                                                                          Court Action Date:
  Amount of Judgement: $0.00                                Court Action For:                            Exemptions:
  Cost Against Party:       $0.00                           Other Cost:         $0.00                    Date Satisfied:
  Comment:                                                                                               Arrest Date:
  Warrant Action Date:                                      Warrant Action Status:                       Status Description:


    Service Information
  Issued:      04/03/2017 Issued Type:   C-CERTIFIED MAIL           Reissue:                                Reissue Type:
  Return:            Return Type:                                   Return:                                 Return Type:
  Served: 04/10/2017 Service Type C-CERTIFIED MAIL                  Service On:                             Served By:
  Answer:            Answer Type:                                   Notice of No Service:                   Notice of No Answer:




                                               © Alacourt.com      5/4/2017                 4
     Attorneys
                                Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 6 of 53
   Number       Attorney Code Type of Counsel Name                                            Email   Phone
   Attorney 1   000000                              PRO SE




Financial


Case Action Summary
Date:       Time         Code      Comments                                                              Operator
4/3/2017    9:40 PM      ECOMP     COMPLAINT E-FILED.                                                    LAY002
4/3/2017    9:40 PM      FILE      FILED THIS DATE: 04/03/2017        (AV01)                             AJA
4/3/2017    9:40 PM      ORIG      ORIGIN: INITIAL FILING          (AV01)                                AJA
4/3/2017    9:40 PM      EORD      E-ORDER FLAG SET TO "Y"             (AV01)                            AJA
4/3/2017    9:41 PM      STAT      CASE ASSIGNED STATUS OF: ACTIVE             (AV01)                    AJA
4/3/2017    9:41 PM      ASSJ      ASSIGNED TO JUDGE: JIM ROBERTS JR            (AV01)                   AJA
4/3/2017    9:41 PM      TDMJ      JURY TRIAL REQUESTED               (AV01)                             AJA
4/3/2017    9:41 PM      SCAN      CASE SCANNED STATUS SET TO: N              (AV01)                     AJA
4/3/2017    9:41 PM      C001      C001 PARTY ADDED: RICE KENNETH WAYNE              (AV02)              AJA
4/3/2017    9:41 PM      C001      INDIGENT FLAG SET TO: N            (AV02)                             AJA
4/3/2017    9:41 PM      C001      LISTED AS ATTORNEY FOR C001: LAY KENNETH JAMES                        AJA
4/3/2017    9:41 PM      C001      C001 E-ORDER FLAG SET TO "N"             (AV02)                       AJA
4/3/2017    9:41 PM      D001      D001 PARTY ADDED: SETERUS INC.             (AV02)                     AJA
4/3/2017    9:41 PM      D001      LISTED AS ATTORNEY FOR D001: PRO SE          (AV02)                   AJA
4/3/2017    9:41 PM      D001      INDIGENT FLAG SET TO: N            (AV02)                             AJA
4/3/2017    9:41 PM      D001      D001 E-ORDER FLAG SET TO "N"             (AV02)                       AJA
4/3/2017    9:41 PM      D001      CERTIFIED MAI ISSUED: 04/03/2017 TO D001     (AV02)                   AJA
4/3/2017    9:41 PM      D002      D002 PARTY ADDED: FEDERAL NATIONAL MORTGAGE ASSOCI                    AJA
4/3/2017    9:41 PM      D002      INDIGENT FLAG SET TO: N            (AV02)                             AJA
4/3/2017    9:41 PM      D002      CERTIFIED MAI ISSUED: 04/03/2017 TO D002     (AV02)                   AJA
4/3/2017    9:41 PM      D002      LISTED AS ATTORNEY FOR D002: PRO SE          (AV02)                   AJA
4/3/2017    9:41 PM      D002      D002 E-ORDER FLAG SET TO "N"             (AV02)                       AJA
4/3/2017    9:41 PM      D003      CERTIFIED MAI ISSUED: 04/03/2017 TO D003     (AV02)                   AJA
4/3/2017    9:41 PM      D003      D003 PARTY ADDED: JP MORGAN CHASE BANK              (AV02)            AJA
4/3/2017    9:41 PM      D003      D003 E-ORDER FLAG SET TO "N"             (AV02)                       AJA
4/3/2017    9:41 PM      D003      INDIGENT FLAG SET TO: N            (AV02)                             AJA
4/3/2017    9:41 PM      D003      LISTED AS ATTORNEY FOR D003: PRO SE          (AV02)                   AJA
4/3/2017    9:41 PM      D004      D004 PARTY ADDED: MORTGAGE ELECTRONIC REGISTRATION                    AJA
4/3/2017    9:41 PM      D004      INDIGENT FLAG SET TO: N            (AV02)                             AJA
4/3/2017    9:41 PM      D004      LISTED AS ATTORNEY FOR D004: PRO SE          (AV02)                   AJA
4/3/2017    9:41 PM      D004      CERTIFIED MAI ISSUED: 04/03/2017 TO D004     (AV02)                   AJA
4/3/2017    9:41 PM      D004      D004 E-ORDER FLAG SET TO "N"             (AV02)                       AJA
4/18/2017   4:10 PM      D002      SERVICE OF CERTIFIED MAI ON 04/10/2017 FOR D002                       KAS
4/18/2017   4:10 PM      ESERC     SERVICE RETURN                                                        KAS
4/18/2017   4:11 PM      ESERC     SERVICE RETURN                                                        KAS
4/18/2017   4:12 PM      D004      SERVICE OF CERTIFIED MAI ON 04/10/2017 FOR D004                       KAS
4/18/2017   4:13 PM      D001      SERVICE OF CERTIFIED MAI ON 04/07/2017 FOR D001                       KAS
4/18/2017   4:13 PM      ESERC     SERVICE RETURN                                                        KAS
4/18/2017   4:14 PM      D003      SERVICE OF CERTIFIED MAI ON 04/07/2017 FOR D003                       KAS


                                             © Alacourt.com      5/4/2017                     5
4/18/2017   4:14 PM   ESERC   SERVICE RETURN                                                         KAS
4/19/2017   3:22 PM
                         CaseSCAN
                      ESCAN
                              7:17-cv-00732-RDP           Document 1-1 Filed 05/05/17 Page 7 of 53
                                  - FILED 4/19/2017 - SUMMONS ISSUED


                                                       END OF THE REPORT




                                      © Alacourt.com    5/4/2017           6
                                                         DOCUMENT 1
                                                                                                            ELECTRONICALLY FILED
                    Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 8 of 53 9:40 PM
                                                                              4/3/2017
                                                                                                               63-CV-2017-900409.00
State of Alabama                                                                             Case Number: CIRCUIT COURT OF
                                            COVER SHEET                                              TUSCALOOSA COUNTY, ALABAMA
Unified Judicial System
                                      CIRCUIT COURT - CIVIL CASE                             63-CV-2017-900409.00
                                                                                                 MAGARIA HAMNER BOBO, CLERK
                                        (Not For Domestic Relations Cases)                   Date of Filing:            Judge Code:
Form ARCiv-93      Rev.5/99
                                                                                             04/03/2017

                                                GENERAL INFORMATION
                              IN THE CIRCUIT COURT OF TUSCALOOSA COUNTY, ALABAMA
                                     KENNETH WAYNE RICE v. SETERUS INC. ET AL

First Plaintiff:       Business         Individual             First Defendant:         Business                Individual
                       Government       Other                                           Government              Other

NATURE OF SUIT: Select primary cause of action, by checking box (check only one) that best characterizes your action:

TORTS: PERSONAL INJURY                                OTHER CIVIL FILINGS (cont'd)
     WDEA - Wrongful Death                                   MSXX - Birth/Death Certificate Modification/Bond Forfeiture Appeal/
     TONG - Negligence: General                                     Enforcement of Agency Subpoena/Petition to Preserve

     TOMV - Negligence: Motor Vehicle                        CVRT - Civil Rights
     TOWA - Wantonness                                       COND - Condemnation/Eminent Domain/Right-of-Way
     TOPL - Product Liability/AEMLD                          CTMP - Contempt of Court
     TOMM - Malpractice-Medical                              CONT - Contract/Ejectment/Writ of Seizure
     TOLM - Malpractice-Legal                                TOCN - Conversion
     TOOM - Malpractice-Other                                EQND - Equity Non-Damages Actions/Declaratory Judgment/
     TBFM - Fraud/Bad Faith/Misrepresentation                       Injunction Election Contest/Quiet Title/Sale For Division

     TOXX - Other:                                           CVUD - Eviction Appeal/Unlawful Detainer
                                                             FORJ - Foreign Judgment
TORTS: PERSONAL INJURY                                       FORF - Fruits of Crime Forfeiture
     TOPE - Personal Property                                MSHC - Habeas Corpus/Extraordinary Writ/Mandamus/Prohibition
     TORE - Real Properly                                    PFAB - Protection From Abuse
                                                             FELA - Railroad/Seaman (FELA)
OTHER CIVIL FILINGS
                                                             RPRO - Real Property
     ABAN - Abandoned Automobile
                                                             WTEG - Will/Trust/Estate/Guardianship/Conservatorship
     ACCT - Account & Nonmortgage
                                                             COMP - Workers’ Compensation
     APAA - Administrative Agency Appeal
                                                             CVXX - Miscellaneous Circuit Civil Case
     ADPA - Administrative Procedure Act
     ANPS - Adults in Need of Protective Service

ORIGIN:      F       INITIAL FILING                     A       APPEAL FROM                               O       OTHER
                                                                DISTRICT COURT

             R       REMANDED                           T       TRANSFERRED FROM
                                                                OTHER CIRCUIT COURT

                                                                     Note: Checking "Yes" does not constitute a demand for a
HAS JURY TRIAL BEEN DEMANDED?                   YES     NO           jury trial. (See Rules 38 and 39, Ala.R.Civ.P, for procedure)


RELIEF REQUESTED:                     MONETARY AWARD REQUESTED                     NO MONETARY AWARD REQUESTED

ATTORNEY CODE:
        LAY002                                   4/3/2017 9:40:17 PM                                 /s/ KENNETH JAMES LAY
                                            Date                                              Signature of Attorney/Party filing this form



MEDIATION REQUESTED:                            YES    NO      UNDECIDED
                                 DOCUMENT 2
                                                                 ELECTRONICALLY FILED
     Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 9 of 53 9:40 PM
                                                               4/3/2017
                                                                  63-CV-2017-900409.00
                                                                   CIRCUIT COURT OF
                                                             TUSCALOOSA COUNTY, ALABAMA
                                                             MAGARIA HAMNER BOBO, CLERK
            IN THE CIRCUIT COURT OF TUSCALOOSA
                      COUNTY ALABAMA

KENNETH WAYNE RICE,     )
                        )
    PLAINTIFF,          )
                        )
v.                      )                   CIVIL ACTION NO.:
                        )                    CV-2017-
                        )
SETERUS INC. ; FEDERAL  )
NATIONAL MORTGAGE       )
ASSOCIATION; JP MORGAN  )
CHASE BANK; MORTGAGE    )
ELECTRONIC REGISTRATION )
SYSTEMS INC.;           )
                        )
    DEFENDANTS.

                               COMPLAINT

       Comes now, Kenneth Wayne Rice, by and through his attorney of

record and files his complaint in accordance with the Alabama Rules of

Civil Procedure as in support of said complaint states as follows:


                                 PARTIES

1.     The Defendant, JP Morgan Chase Bank, in this action is a foreign
       corporation doing business in Tuscaloosa County, Alabama, is a “debt
       collector” as that term is defined by 15 U.S.C. § 1692a(6). Seterus
       Inc. in this action is a foreign corporation doing business in
       Tuscaloosa County, Alabama, is a “debt collector” as that term is
       defined by 15 U.S.C. § 1692a(6). Defendant, Federal National
       Mortgage Association, commonly known as “Fannie Mae”, is a
       United States government-sponsored enterprise (GSE) and, since
       1968, a publicly traded company. Founded in 1938 during the
       Great Depression as part of the New Deal, the corporation's


                                                                            1
                                   DOCUMENT 2
     Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 10 of 53



        purpose is to expand the secondary mortgage market by
        securitizing mortgages in the form of mortgage-backed securities
        (MBS), allowing lenders to reinvest their assets into more lending
        and in effect increasing the number of lenders in the mortgage
        market by reducing the reliance on locally based savings and loan
        associations (or "thrifts") Its address is 3900 Wisconsin Avenue,
        NW Washington, DC 20016-2892. Fannie Mae is the purported
        owner of the loan at the present time. The Defendant Mortgage
        Electronic Registration Systems, Inc. (MERS), is upon information
        and belief, a foreign corporation doing business by in Tuscaloosa
        County, Alabama at all times material to this complaint and is the
        business of managing mortgages and mortgage recordation.


2.      The Plaintiff, Kenneth Wayne Rice, in this action is an adult resident
        of Tuscaloosa County, Alabama, and is a “consumer” and/or a person
        affected by a violation of the FDCPA.


                                   JURISDICTION

     3. Jurisdiction is proper in this Court because the underlying action is
        based upon a contract executed in Tuscaloosa County, Alabama. The
        action is brought regarding an attempted foreclosure instituted in
        Tuscaloosa County, Alabama, and is in the nature of a complaint
        regarding that attempted foreclosure action. The action is brought to
        enforce the contractual remedies allowed in the mortgage document.
        The action seeks damages in contract and tort for the actions of the
        Defendants with respect to their servicing and attempted foreclosure
        on the loan in question.

                                    VENUE

4.      Venue is proper in this Court as the Plaintiff is a citizen of Tuscaloosa
        County, all or substantially all of the wrongs complained of occurred
        in this county, and the property is situated in this county.




                                                                                 2
                                   DOCUMENT 2
      Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 11 of 53



                              STATEMENT OF FACTS


      5. Kenneth Wayne Rice bought the property located at 3813 East 2nd
         Avenue Tuscaloosa Alabama 35405 on June 13, 2007. On that same
         date, Rice received a loan with Mortgage America Inc., and executed
         a mortgage with MERS as nominee for lender Mortgage America Inc.,
         and also signed a promissory note with Mortgage America, Inc. The
         Mortgage contract provides for an escrow account for the taxes and
         insurance. The mortgagee is required to pay for the insurance and
         taxes from the escrow account.

6.       Rice currently resides at 3813 East 2nd Avenue, Tuscaloosa Alabama
         35405.

      7. Cenlar became Servicer of Rice’s mortgage loan in 2008. Thereafter,
         Chase became the servicer of the loan on or about September 3, 2010.
         Thereafter it was transferred, sold or assigned to Seterus and then
         Federal National Mortgage Association.

      8. The Law firm of Sirote & Permutt, P.C. handled the attempted
         foreclosure sale.

9.       The Defendant purportedly began foreclosure proceedings on
         Plaintiff’s property on November 1, 2016 despite knowing that the
         Plaintiff, Rice, claimed that the attempted foreclosure sale was
         wrongful and invalid, and that he was not in default as his account
         was current at the time of the acceleration.

10.      The foreclosure sale date which included false information related to
         the alleged default on the indebtedness was published in the
         newspaper, The Tuscaloosa News, in November 2016, December
         2016, January 2017, February 2017, and March 2017. Furthermore,
         said false and inaccurate information related to Rice’s alleged default
         was reported to the national credit bureaus and Rice’s credit and
         reputation were damaged as a result of the reporting of the foreclosure
         sale date and default which was invalid and wrongful.

11.      Rice, upon information and belief, contends that the alleged
         Assignments of the note and mortgage are defective, void, or

                                                                               3
                                    DOCUMENT 2
      Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 12 of 53



        otherwise unenforceable as to the security instrument in question in
        this case.

12.     Rice contends that the attempted sale was wrongful, illegal, in
        violation of law and the documents governing the relationship
        between Rice and the owners of the note and mortgage. Furthermore,
        Rice alleges that he was not behind in his payments on the mortgage
        and that he was improperly defaulted and that the note was improperly
        accelerated.

13.     Rice contends that the foreclosing entity Seterus and Fannie Mae
        lacked standing or authority to initiate foreclosure proceedings on his
        property.

14.     Rice alleges that the actions of the Defendants and its agents,
        employees and servants were wrongful and tortious.

15.     Rice alleges that the actions of Defendants by improperly attempting
        foreclosure on his property is a violation of law, wrongful and
        tortious and that the Defendant had no authority to foreclose on his
        home or property, and that its actions constitute negligence,
        wantonness, abuse of process and slander of title.

16.      As a direct result of the acts complained of Rice has suffered great
        mental anguish, damage to his reputation, economic and emotional
        damages and claims from Defendants all damages allowable under the
        law.

                                  COUNT ONE
                                 NEGLIGENCE
                                  (Defendants)

25.     The Plaintiff re-alleges all prior paragraphs as if set out here in full.

26.     Defendant negligently serviced the loan made the basis of this suit,
        negligently attempted to collect sums not owed by the Plaintiff,
        negligently caused his property insurance to be canceled, negligently
        defaulted the Plaintiff, negligently attempted a foreclosure sale on
        Plaintiff’s property, were negligent by failing to make sure that
        information disseminated to others (including the national credit

                                                                                    4
                                    DOCUMENT 2
      Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 13 of 53



        bureaus and those credit grantors likely to use the information
        provided by those bureaus) was not false, neither libelous nor
        slanderous, and rose to the level of maximum accuracy; negligent by
        failing to properly train their employees on the thorough investigation
        of disputed accounts; negligent by failing to properly train, and/or
        supervise their employees and agents with regard to the handling of
        Plaintiff’s loan account and failing to remove the adverse reporting
        from Plaintiff’s credit once he disputed the same.

27.     As a direct result of the said negligence, the Plaintiff was injured and
        damaged as alleged above and has suffered mental anguish, economic
        injury and all other damages allowed by law.

28.     As a result thereof, the Defendant is liable for all natural, proximate
        and consequential damages due to their negligence.

                                 COUNT TWO
                                 WANTONNESS
                                  (Defendants)

29.     The Plaintiff re-alleges all prior paragraphs as if set out here in full.

30.     The Defendant acted with reckless indifference to the consequences,
        and consciously and intentionally wrongfully serviced the loan made
        the basis of this suit, attempted to collect sums not owed by the
        Plaintiff, caused his property insurance to be canceled, defaulted the
        Defendant, attempted to conduct a foreclosure sale on Plaintiff’
        property, failed to make sure that information disseminated to others
        (including the national credit bureaus and those credit grantors likely
        to use the information provided by those bureaus) was not false,
        neither libelous nor slanderous, and rose to the level of maximum
        accuracy; failed to properly train their employees on the thorough
        investigation of disputed accounts; failed to properly train, and/or
        supervise their employees and agents with regard to the handling of
        Rice’s loan account and failing to remove the adverse reporting from
        Rice’s credit once he disputed the same.

31.     These actions were taken with reckless indifference to the
        consequences, consciously and intentionally in an effort to increase
        profits for the Defendant.

                                                                                    5
                                   DOCUMENT 2
      Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 14 of 53




32.     The Defendant knew that these actions were likely to result in injury
        to the Plaintiff including financial and emotional injuries and mental
        anguish.

33.     As a proximate result of the Defendant's wantonness the Plaintiff was
        injured and harmed and suffered financial injury and emotional
        damage.

34.     As a result thereof, Defendant is liable for all natural, proximate and
        consequential damages due to its wantonness as well as punitive
        damages upon a proper evidentiary showing.



                              COUNT THREE
                           UNJUST ENRICHMENT
                               (Defendants)

35.     The Plaintiff adopts and re-alleges all prior paragraphs as if set out
        here in full.

36.     The actions of the Defendant in attempting foreclosure on the home of
        the Plaintiff in violation of law resulted in Defendant being unjustly
        enriched by the payment of fees, insurance proceeds and equity in the
        home.

37.     As a result of the Defendant’s unjust enrichment, the Plaintiff has
        been injured and damaged in that the Plaintiff has been forced to pay
        charges that were illegal, wrong in character, wrong in amount,
        unauthorized, or otherwise improper under threat of foreclosure by the
        Defendant.

38.     The Plaintiff claim all damages allowable under law as a result of the
        Defendant’s wrongful conduct and unjust enrichment.




                                                                                  6
                                    DOCUMENT 2
      Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 15 of 53



                            COUNT FOUR
                        WRONGFUL FORECLOSURE
                             (Defendants)

39.     The Plaintiff re-alleges all prior paragraphs as if set out here in full.

40.     Defendant wrongfully initiated and attempted to conduct a foreclosure
        proceeding against the Plaintiff in violation of law.

41.     The attempted foreclosure proceeding by the Defendant was either
        negligent, wanton or intentional, depending on proof adduced at Trial.
        The power of sale was exercised for a purpose other than to secure the
        debt owed by plaintiff, as the plaintiff was current on the debt at the
        time of the default and acceleration.

42.     As a result thereof, the Defendant is liable for all natural, proximate
        and consequential damages due to their actions including an award of
        punitive damages upon a proper evidentiary showing.

                                    COUNT FIVE
                                 SLANDER OF TITLE
                                     (Defendants)

43.     The Plaintiff re-alleges all paragraphs as if set out here in full.

44.     Defendant, in attempting foreclosure has caused a cloud to be placed
        on the title of the property of the Plaintiff.

45.     As the proximate cause of the Defendant’s said slandering of the
        Plaintiff’s title, he was caused to suffer injuries and damages and
        claims all damages allowable under law.

                               COUNT SIX
                          BREACH OF CONTRACT
                               (Defendants)

46.     The Plaintiff adopts and re-alleges all prior paragraphs as if set out
        here in full.




                                                                                    7
                                    DOCUMENT 2
      Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 16 of 53



47.      The Plaintiff and his Lender entered into the standard Fannie
         Mae/Freddie Mac Uniform Instrument" mortgage agreement.
48.      The Defendants serviced the loan and breached the agreement by
         failing to comply with essential terms in paragraph 2 regarding the
         application of payment and the notice requirements of paragraph 22 of
         the agreement.
49.      As a result of the defendant’s breach of the mortgage contract, the
         Plaintiff was caused to suffer injuries and damages and claims all
         damages allowable under law.

50.      That paragraph 2 of the terms of the agreement entered into between
         Plaintiff and Mortgage America, Inc. detail the application of
         payments. That, as more fully described above, Chase and Seterus
         failed to apply regular monthly payments, supplemental monthly
         payments, in the proper manner according to the terms of the note and
         mortgage. More specifically, Chase and Seterus never applied some
         payments at all to Rice’s account even though Rice sent in the
         payment and it was deposited by Chase and Seterus. Apparently,
         Chase and Seterus have misplaced or are unable to account for the
         funds from payments made or sent by Rice. Moreover, numerous
         other payments made by Rice were returned to him by Chase and
         Seterus without reason or without explanation.

51.      That this misapplication of funds constitutes a breach of the mortgage
         contract and thus entitles Rice to damages.

      52. In addition, Defendants failed to send proper notices to Rice as
         required by the mortgage contract. Even if Rice is in default,
         Defendants failed to send a proper notice of default, a proper notice of
         intent to accelerate, and a proper notice of acceleration. The contract
         terms related to notice are as follows:
               Lender shall give notice to Borrower prior to
               acceleration following Borrower’s breach of any
               covenant or agreement in this Security Instrument . . . The
               notice shall specify (a) the default; (b) the action required
               to cure the default; (c) a date not less than 30 days from
               the date the notice is given to Borrower by which the
               default must be cured; and (d); that failure to cure the
               default on or before the date specified in the notice may
               result in acceleration of the sums secured by this Security


                                                                                8
                                     DOCUMENT 2
      Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 17 of 53



                Instrument and sale of the Property. The notice shall
                further inform the Borrower of the right to reinstate after
                acceleration and the right to bring a court action to assert
                the non-existence of a default or any other defense of
                Borrower to acceleration and sale. If the default is not
                cured on or before the date specified in the notice, Lender
                at its option may require immediate payment in full of all
                sums secured by this Security Instrument….
Accordingly, Defendants failed to comply with this provision of the
mortgage contract and has therefore breached the contract.

      53.Moreover, Paragraph 22 of the mortgage document gives the Plaintiff
         the right to bring an action to dispute the existence of a default and raise
         defenses thereto. Accordingly, the Plaintiff exercises his right pursuant
         to paragraph 22 of the mortgage document and hereby challenges the
         existence of a default on his mortgage indebtedness. As previously,
         discussed, the Plaintiff is not in default, has made payments every
         month as required by the mortgage and note and is not behind on his
         mortgage payments.


                                  COUNT SEVEN
                                     FRAUD
                                   (Defendants)

54.      The Plaintiff adopts and re-alleges all prior paragraphs as if set out
         here in full.

55.      The Defendant misrepresented that the loan was in default. Further,
         the Defendant made false and misleading representations, to wit:
         dissemination of inaccurate information regarding the loan account as
         being in default and dissemination of inaccurate information regarding
         the credit history and credit of the Plaintiff that was known to be false.

56.      Said misrepresentations were made negligently and/or willfully and/or
         wantonly and/or fraudulently, and/or recklessly with the intent to
         induce the Plaintiff to act thereon and upon which the Plaintiffs did in
         fact act to his detriment.

57.      Plaintiff justifiably relied upon said representations made by
         Defendant and as a result of said reliance proceeded with the


                                                                                   9
                                   DOCUMENT 2
      Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 18 of 53



        execution of the loan; at the time said representations were made the
        same were false and known by the Defendant to be false and/or were
        false and made by mistake with the intent for Plaintiff to rely thereon.

58.     As a proximate cause of the aforementioned fraudulent
        misrepresentations made by the Defendant, Plaintiff was proximately
        caused to suffer injury and damage.


                             COUNT EIGHT
                        PLACED IN A FALSE LIGHT
                              (Defendants)

59.     Plaintiff adopts the above paragraphs as if fully set forth herein.

60.     In association with the servicing of the loan account Defendants held
        Rice up in a false light and made undesirable and negative character
        and credit reputation remarks on or about the Rice by either speaking
        or writing undesirable and negative character and reputation remarks
        about Rice which was offensive, untrue, and inaccurate, and which
        alleged Rice was behind on his debt serviced by Defendants, has a bad
        debt with Defendants.

61.     Defendants knew Rice was not in default on the account, as it was
        paid to date and as such, that there existed no basis in law or fact, for
        the Defendants to make offensive, untrue, and inaccurate reports
        regarding Rice. Defendants knew this at the times they were reporting
        such information.

62.     Defendants held Rice up in a false light and made undesirable and
        negative and credit reputation remarks on or about Rice in the national
        credit reporting media and to his homeowner insurance carrier.
        Defendants provided this false information to third parties.

63.     The conduct Defendants was objectionable to the Rice and to any
        reasonable person. Defendants’ action was willful, reckless, wanton
        and/or made with malice and resulted in Rice being unreasonably
        placed in a false light.




                                                                              10
                                   DOCUMENT 2
      Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 19 of 53



64.     Due to Defendants’ conduct, Rice was caused to have negative credit
        reports, denied homeowners insurance, held up to public ridicule or
        shame, humiliated, made to suffer physically and mentally, and
        endure anguish.

        WHEREFORE, PREMISES CONSIDERED, Rice Prays for
        Judgment against Defendants in an amount to be determined by trier
        of fact.

                                    COUNT NINE

                        DEFAMATION, LIBEL, SLANDER
                             (Defendants)

65.     Plaintiff adopts the above paragraphs as if fully set forth herein.

66.     The Defendant willfully, wantonly, recklessly and/or maliciously
        published and communicated false and defamatory statements
        regarding the Plaintiff and said statements have subjected the Plaintiff
        to the denial of credit by third parties, resulted in homeowner’s
        insurance cancellation and harmed the Plaintiff’s credit reputation. As
        previously stated, the Plaintiff was current on his mortgage account
        and has made payments each and every month. Accordingly, he was
        not in default. Despite Rice’s account being current, Defendants
        published in the newspaper false information regarding his account
        being in default and false information regarding its right to conduct a
        foreclosure sale on Rice’s property.

67.     Said false and defamatory statements have harmed the reputation of
        Rice and/or deterred third persons from associating with the Rice.

68.     The Defendant communicated to credit reporting agencies and/or
        other third parties, false information that Rice defaulted on the loan
        and was in foreclosure, disseminated and imputed false and
        misleading credit history and worthiness information concerning Rice.

69.     Defendants published such defamatory and libelous information in the
        Tuscaloosa News newspaper.




                                                                              11
                                   DOCUMENT 2
      Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 20 of 53



70.     Said communications were false in that Plaintiff was not indebted to
        the Defendant in the amount reported, and Plaintiff was not delinquent
        as reported by the Defendant, and Plaintiff is the legal and rightful
        owner of the mortgage note.

71.     At the time said communications were made, Defendants knew, or
        should have known, of the falsity of the communication or recklessly
        disregarded the potential inaccuracy of the information, yet
        knowingly, willfully, and maliciously communicated the falsity.

72.     As a result of the intentional communication to third parties of false
        information, Rice was caused to suffer injury to his reputation in the
        eyes of the community and the public and was subject to ridicule.

73.     Said communications were oral and/or written.

74.     As a proximate consequence of Defendants’ acts, Rice was caused to
        be injured and damaged.

75.     Defendants published such defamatory and libelous information.
        Defendants knew Rice was not in default on the account, as it was
        paid to date and as such, that there existed no basis in law or fact, for
        the Defendants to make offensive, untrue, and inaccurate reports
        regarding Rice. Defendants knew this at the times they were reporting
        such information. Furthermore, Defendants published in the local
        newspaper in Tuscaloosa County Alabama the false information of the
        default on the loan in the foreclosure sale notice. This foreclosure
        sale notice states that Rice’s loan is in default and in foreclosure.
        Defendants knew this information was inaccurate at the time it
        published this notice in the local paper, and the published false
        information harmed Rice’s reputation and character. As a result, Rice
        suffered damages of his reputation which negatively affected his
        credit and his business causing monetary losses.

76.     Said communications were false in that Plaintiff were not indebted to
        the Defendant in the amount reported, Plaintiff was not delinquent as
        reported by the Defendant, and Defendant is not the legal and rightful
        owner of the mortgage note.




                                                                                 12
                                       DOCUMENT 2
      Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 21 of 53



77.         At the time said communications were made, Defendants knew, or
            should have known, of the falsity of the communication or recklessly
            disregarded the potential inaccuracy of the information, yet
            knowingly, willfully, and maliciously communicated the falsity.

78.         As a result of the intentional communication to third parties of false
            information, Rice was caused to suffer injury to his reputation in the
            eyes of the community.


                              COUNT TEN:
                     VIOLATIONS OF TRUTH IN LENDING

79.Rice re-alleges and adopts the above paragraphs as if fully set forth
   herein and also asserts the following:

            80.   Defendants violated the Federal Truth in Lending Act.

            8 1 . Rice institutes this action for actual damages, statutory damages,
                attorney’s fees, and the costs of this action against Defendants for
                multiple violations of the Truth in Lending Act, 15 U.S.C.
                §1601et seq. , (hereinafter TILA),and Federal Reserve Board
                Regulation Z, 12 C.F.R. § 226,p r o mu l g a t e d p u r s u a n t
                thereto.

      82.      This complaint is solely for monetary damages pursuant to15
            U.S.C. § 1640. Under 15 U.S.C. § 1640(a), it is not necessary to
            allege or to prove actual damages to recover statutory damages.

      83.         Defendants, is a covered by the Act as it regularly
            extended or offered to extend consumer credit for which a
            finance charge is or may be imposed or which, by written
            agreement, is payable in more than four installments, and is the
            person to whom the transaction which is the subject of this
            action is initially payable, making defendant a creditor within
            the meaning of TIL, 15 U.S.C. § 1602(f) and Regulation Z §
            226.2(a)(17).

      84.        Defendants did not provide a proper copy of the
            notices required by the Act to Rice. The disclosure statement

                                                                                     13
                              DOCUMENT 2
Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 22 of 53



   issued in conjunction with this consumer credit transaction violated
   the requirements of Truth in Lending and Regulation Z            in the
   following and other respects: (a). By failing to provide the
   required disclosures prior to consummation of the transaction in
   violation of 15 U.S.C.§ 1638(b) and Regulation Z § 226.17(b). (b).
   By failing to make required disclosures clearly and
   conspicuously in writing in violation of 15 U.S.C. § 1632(a) and
   Regulation Z § 226.17(a). (c). By failing to include in the finance
   charge certain charges imposed by defendant payable by plaintiff
   incident to the extension of credit as required by 15 U.S.C. §
   1605and Regulation Z § 226.4, thus improperly disclosing the finance
   charge in violation of 15 U.S.C. § 1638(a)(3) and Regulation Z §
   226.18(d). Such amounts include, but are not limited to the attorney
   fees and late fees, 15 U.S.C. § 1605(a), Regulation Z§ 226.4(a).

85.The regulations require that the notice shall identify the transaction or
   occurrence and clearly and conspicuously disclose the following:
   The retention or acquisition of a security interest in the consumer’s
   principal dwelling. The consumer’s right to rescind, as described in
   paragraph (a)(1) of this section. How to exercise the right to rescind,
   with a form for that purpose, designating the address of the creditor’s
   place of business. The effects of rescission, as described in paragraph
   (d) of this section. The date the rescission period expires. (See Reg. Z
   §§ 226.15(b)(5) and 226.23(b).

86.By charging “attorney fees” and other “fees” not authorized by the
   mortgage contract, Defendants has made unauthorized charges and
   failed to disclose these charges in violation of the Act. In this case,
   Defendants added fees to Rice’s account in September 2011 which are
   referenced in the notice of default. Moreover, once the account was
   turned over to the attorney for foreclosure in January 2013, additional
   fees were improperly added to the account. Each time the sale was
   published in the newspaper up to and including December 2013,
   Defendants added additional and unauthorized fees to Rice’s account
   balance.

87.By calculating the annual percentage rate (APR) based upon
   improperly calculated and disclosed finance charges and amount
   financed, 15 U.S.C. § 1606, Regulation Z§ 226.22, Defendants



                                                                          14
                                   DOCUMENT 2
      Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 23 of 53



         understated the disclosed annual percentage rate in violation of 15
         U.S.C. § 1638(a)(4) and Regulation Z § 226.18(c).

      88.That Defendants has been improperly amortizing the loan, and has
         failed to provide proper disclosures to Rice. Defendants failed to send
         proper monthly statements to Rice in violation of the Act.

      89.By reason of the aforesaid violations of the Act and
         Regulation Z, Defendants is liable to Rice in the amount of twice the
         finance charge, actual damages to be established at trial, and
         attorney’s fees and costs in accordance with 15U.S.C. § 1640 for
         violations of Federal Truth in Lending Act.

                            COUNT ELEVEN:
                VIOLATIONS OF REAL ESTATE SETTLEMENT
                       PROCEDURES ACT (RESPA)


90.      Rice re-alleges and adopts the above paragraphs as if fully set forth
         herein and also asserts the following:

91.      Defendants violated the Real Estate Settlement Procedures Act
         (REPA) by failing to acknowledge or respond to Rice’s Qualified
         Written Request (QWR). Defendant violated the Real Estate
         Settlement Procedures Act (REPA) by failing to acknowledge or
         respond to Rice’s Qualified Written Request (QWR) within in the
         time provided by federal law.

92.      Rice made a Qualified Written Request pursuant to RESPA to
         Defendants on December 4, 2015, January 15, 2016, February 25,
         2016, May 8, 2016, and November 15, 2016, January 12, 2017, and
         February 5, 2017which was sent by first class mail. It was signed for
         by Defendants acknowledging receipt of the QWR. Defendants never
         acknowledged receipt of the QWR request and never responded to it.
         Defendants’ failure to acknowledge and respond to the QWR request
         is a violation of RESPA or the Dodd-Frank Act. Because of said
         violations of said acts, Rice was damaged because he was not
         informed of the information regarding his loan. Because the bank
         failed to give this information to Rice, he was not able to stop the
         foreclosure on his home. Accordingly, Rice is entitled to damages

                                                                                 15
                                   DOCUMENT 2
      Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 24 of 53



        from Defendants. Plaintiff suffered damages by Defendants’ failure
        to comply with the RESPA law because he was unable to get a proper
        accounting of the fees and charges owed on the account to cure any
        alleged default and as a result a foreclosure sale was set.


                               COUNT TWELVE
                          FAIR CREDIT REPORTING ACT

93.     Rice re-alleges and adopts the above paragraphs as if fully set forth
        herein and also asserts the following:

94.     Rice disputed the account and false credit reporting. Defendants was
        inaccurately reporting that Rice was delinquent in his mortgage loan
        and in Default. Rice repeatedly contacted Defendants from
        September 2015 until February 2017 and informed Defendants
        regarding their INACCURATE REPORTING. Moreover, Rice
        contacted the credit national bureaus and informed them of the
        inaccurate information and disputed same. Nonetheless the credit
        reports were never changed because Defendants kept reporting the
        account as delinquent and in foreclosure.

95.     Despite receipt of the dispute, defendants failed to properly
        investigate and respond, failed to make any effort to verify the
        complaints of plaintiff and reported the false, derogatory information
        to the consumer reporting agencies in violation of their duties as a
        furnisher of credit.

96.     According to the national consumer reporting agencies’ reports the
        defendants falsely reported about plaintiff’s disputed debt.

97.     Defendants likewise willfully, or alternatively, negligently, violated
        the Fair Credit Reporting Act by failing to properly conduct a
        reasonable investigation and by failing to supply accurate and
        truthful information.

98.     Rather, defendants reported false and inaccurate information and
        failed to retract, delete and suppress false and inaccurate information
        it reported about the plaintiff.



                                                                                 16
                                  DOCUMENT 2
      Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 25 of 53



99.     Defendants failed to conduct a reasonable investigation with respect
        to consumer credit data it reported about the plaintiff.

100. Defendants failed to review all relevant and pertinent information
     provided to it regarding the debt.

101. As a proximate result of the Defendants’ fraudulent conduct the
     Plaintiff has been injured and damaged.

102. Defendants’ violations and false credit reportings about plaintiff have
     been a substantial factor in causing credit denials and other damages.

103. Defendants are liable unto plaintiff for all actual, statutory, exemplary
     and punitive damages awarded in this case, as well as other demands
     and claims asserted herein including, but not limited to, out-of-
     pocket expenses, credit denials, costs and time of repairing their
     credit, pain and suffering, embarrassment, inconvenience, lost
     economic opportunity, loss of incidental time, frustration, emotional
     distress, mental anguish, fear of personal and financial safety and
     security, attorneys' fees, and court costs, and other assessments proper
     by law and any and all other applicable federal and state laws,
     together with legal interest thereon from date of judicial demand until
     paid.

104. WHEREFORE PLAINTIFF, PRAYS that after all due proceedings be
     had there be judgment herein in favor of Plaintiff and against
     Defendants. 1) That there be Judgment in favor of Plaintiff and
     against Defendants, for all reasonable damages sustained by Plaintiff
     including but not limited to actual damages, statutory damages,
     compensatory damages, out-of-pocket expenses, credit denials,
     adverse action, lost credit opportunities, costs and time of repairing
     his credit, pain and suffering, embarrassment, inconvenience, lost
     economic opportunity, loss of incidental time, frustration, emotional
     distress, mental anguish, fear of personal and financial safety and
     security, and for punitive/exemplary damages, attorneys' fees, and
     court costs, and other assessments proper by law and any and all other
     applicable federal and state laws, together with legal interest thereon
     from date of judicial demand until paid; and 2) That this Honorable
     Court order Defendants to reinvestigate and correct the credit



                                                                               17
                             DOCUMENT 2
Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 26 of 53



  report(s), data emanations, and credit histories of and concerning
  Plaintiff or any of plaintiff’s personal identifiers.

                       COUNT THIRTEEN

VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES
                ACT 15 U.S.C. § 1692 et seq.

  105. Rice re- incorporates by reference all of the above paragraphs of
       this Complaint as though fully stated herein.

  106. The acts and omissions of counter-defendant as more specifically
      stated in the facts constitutes numerous and multiple violations of
      the FDCPA including, but not limited to, §1692e (2), §1692e (8),
      and §1692f (1), with respect to Rice. As a result of counter
      Defendants’ violations of the FDCPA, the Rice are entitled to
      actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory
      damages in an amount up to $1,000.00 pursuant to 15 U.S.C. §
      1692k(a)(2)(A); and, reasonable attorney’s fees and costs
      pursuant to 15U.S.C. § 1692k(a)(3), from defendants.
      Defendants is subject to the act because as previously stated, it
      began servicing this loan while the Defendant was in a chapter 13
      Bankruptcy.

  107. Within the last 12 months, Defendants attempted to collect
       amounts not owed under the mortgage contract. Within the last
       12months, Defendants sought unjustified amounts, which would
       include demanding any amounts not permitted under an applicable
       contract or as provided under applicable law in violation of the Act
       §1692f(1). Within the last 12 months, Defendants threatened legal
       action that was either not permitted or not actually contemplated
       in violation of the Act §1692 e. Within the last 12 months,
       Defendants communicated with third parties: revealing or
       discussing the nature of debts with third parties in violation of the
       Act §1692 c. Defendants within the last 12 months, failed to
       identify themselves and notify the Rice in every communication,
       that the communication was from a debt collector in violation of
       the Act §1692e(11). Within the last 12 months Defendants falsely
       stated the amount of the debt owed in violation of §1692e2a.



                                                                         18
                                DOCUMENT 2
   Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 27 of 53



                      COUNT FOURTEEN:
                CLAIM FOR DECLARATORY RELIEF

   108.     Rice re-alleges and adopts the above paragraphs as if fully set
            forth herein and also asserts the following:


      109. Defendants breached the contract with Rice by failing to follow
           the terms for notice requirements agreed to in the mortgage
           contract as well as payment application. Defendants never sent
           Rice the required notices, mismanaged his escrow account and
           failed to properly apply his payments. As a result Rice is
           entitled to the following declaratory relief: (1) An Order
           declaring that he is not in default of his mortgage agreement
           and declaring the notice of default is null and void. (2) An
           order declaring that Defendants have no right or authority to
           foreclose on Rice’s property. (3) An Order prohibiting
           Defendants from foreclosing on Rice’s property.


      PLAINTIFF ( RICE) DEMANDS A TRIAL BY JURY.

      WHEREFORE, the Plaintiff having set forth his claims for relief
against the Defendant (Defendants), he respectfully prays of the Court as
follows:

      a.    That the Plaintiff have and recover against the Defendants, a
            sum to be determined by this Court peers in the form of actual
            damages.

      b.    That the Plaintiff have and recover against the Defendant
            Defendants a sum to be determined by this Court in the form of
            compensatory and punitive damages.

      c.    That Plaintiff, Rice, be awarded attorney fees and court cost.

      d.    That the Plaintiff have such other and further and proper relief
            as the Court may deem just and proper:




                                                                              19
                          DOCUMENT 2
Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 28 of 53



                                /s/ Kenneth James Lay
                                HOOD & LAY, LLC
                                1117 22nd Street South
                                Birmingham, Alabama 35205
                                Tel: (205) 323-4123
                                Fax:(205) 776-2040
                                Attorney for Plaintiff




                                                                   20
           Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 29 of 53


                                      AlaFile E-Notice




                                                                         63-CV-2017-900409.00


To: KENNETH JAMES LAY
    ken@whlfirm.com




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF TUSCALOOSA COUNTY, ALABAMA

                         KENNETH WAYNE RICE V. SETERUS INC. ET AL
                                  63-CV-2017-900409.00

                      The following complaint was FILED on 4/3/2017 9:40:57 PM




    Notice Date:    4/3/2017 9:40:57 PM




                                                                   MAGARIA HAMNER BOBO
                                                                     CIRCUIT COURT CLERK
                                                             TUSCALOOSA COUNTY, ALABAMA
                                                                  714 GREENSBORO AVENUE
                                                                     TUSCALOOSA, AL, 35401

                                                                                 205-349-3870
                                                                     magaria.bobo@alacourt.gov
            Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 30 of 53


                                       AlaFile E-Notice




                                                                          63-CV-2017-900409.00


To: SETERUS INC.
    C/O CT CORPORATION
    2 N. JACKSON ST. STE. 605
    MONTGOMERY, AL, 36104




                    NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF TUSCALOOSA COUNTY, ALABAMA

                          KENNETH WAYNE RICE V. SETERUS INC. ET AL
                                   63-CV-2017-900409.00

                       The following complaint was FILED on 4/3/2017 9:40:57 PM




     Notice Date:    4/3/2017 9:40:57 PM




                                                                    MAGARIA HAMNER BOBO
                                                                      CIRCUIT COURT CLERK
                                                              TUSCALOOSA COUNTY, ALABAMA
                                                                   714 GREENSBORO AVENUE
                                                                      TUSCALOOSA, AL, 35401

                                                                                  205-349-3870
                                                                      magaria.bobo@alacourt.gov
           Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 31 of 53


                                      AlaFile E-Notice




                                                                         63-CV-2017-900409.00


To: FEDERAL NATIONAL MORTGAGE ASSOCIATION
    C/O TIMOTHY MAYOPOULOS
    3900 WISCONSIN AVE NW
    WASHINGTON, DC, 20016




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF TUSCALOOSA COUNTY, ALABAMA

                         KENNETH WAYNE RICE V. SETERUS INC. ET AL
                                  63-CV-2017-900409.00

                      The following complaint was FILED on 4/3/2017 9:40:57 PM




    Notice Date:    4/3/2017 9:40:57 PM




                                                                   MAGARIA HAMNER BOBO
                                                                     CIRCUIT COURT CLERK
                                                             TUSCALOOSA COUNTY, ALABAMA
                                                                  714 GREENSBORO AVENUE
                                                                     TUSCALOOSA, AL, 35401

                                                                                 205-349-3870
                                                                     magaria.bobo@alacourt.gov
            Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 32 of 53


                                       AlaFile E-Notice




                                                                          63-CV-2017-900409.00


To: JP MORGAN CHASE BANK
    C/O CT CORPORATION
    2 N. JACKSON ST. STE. 605
    MONTGOMERY, AL, 36104




                    NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF TUSCALOOSA COUNTY, ALABAMA

                          KENNETH WAYNE RICE V. SETERUS INC. ET AL
                                   63-CV-2017-900409.00

                       The following complaint was FILED on 4/3/2017 9:40:57 PM




     Notice Date:    4/3/2017 9:40:57 PM




                                                                    MAGARIA HAMNER BOBO
                                                                      CIRCUIT COURT CLERK
                                                              TUSCALOOSA COUNTY, ALABAMA
                                                                   714 GREENSBORO AVENUE
                                                                      TUSCALOOSA, AL, 35401

                                                                                  205-349-3870
                                                                      magaria.bobo@alacourt.gov
           Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 33 of 53


                                      AlaFile E-Notice




                                                                         63-CV-2017-900409.00


To: MORTGAGE ELECTRONIC REGISTRATION SYSTEMS INC.
    C/O CT CORPORATION
    2 N. JACKSON ST. STE.605
    MONTGOMERY, AL, 36104




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF TUSCALOOSA COUNTY, ALABAMA

                         KENNETH WAYNE RICE V. SETERUS INC. ET AL
                                  63-CV-2017-900409.00

                      The following complaint was FILED on 4/3/2017 9:40:57 PM




    Notice Date:    4/3/2017 9:40:57 PM




                                                                   MAGARIA HAMNER BOBO
                                                                     CIRCUIT COURT CLERK
                                                             TUSCALOOSA COUNTY, ALABAMA
                                                                  714 GREENSBORO AVENUE
                                                                     TUSCALOOSA, AL, 35401

                                                                                 205-349-3870
                                                                     magaria.bobo@alacourt.gov
                Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 34 of 53
State of Alabama                                                                                     Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                     63-CV-2017-900409.00
Form C-34 Rev. 7/2016                                - CIVIL -
                              IN THE CIRCUIT COURT OF TUSCALOOSA COUNTY, ALABAMA
                                     KENNETH WAYNE RICE V. SETERUS INC. ET AL
  NOTICE TO:       SETERUS INC., C/O CT CORPORATION 2 N. JACKSON ST. STE. 605, MONTGOMERY, AL 36104

                                                              (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  KENNETH JAMES LAY                                                                              ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 1117 South 22nd Street, BIRMINGHAM, AL 35205                                                                     .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
     You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of KENNETH WAYNE RICE
     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

           4/3/2017 9:40:57 PM                         /s/ MAGARIA HAMNER BOBO               By:
                     (Date)                                             (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                        /s/ KENNETH JAMES LAY
                                                                (Plaintiff's/Attorney's Signature)


                                                    RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                         .
                                                                                                         (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                   (Date)
                                                                                                     (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                               (Phone Number of Server)
                Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 35 of 53
State of Alabama                                                                                     Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                     63-CV-2017-900409.00
Form C-34 Rev. 7/2016                                - CIVIL -
                              IN THE CIRCUIT COURT OF TUSCALOOSA COUNTY, ALABAMA
                                     KENNETH WAYNE RICE V. SETERUS INC. ET AL
  NOTICE TO:       FEDERAL NATIONAL MORTGAGE ASSOCIATION, C/O TIMOTHY MAYOPOULOS 3900 WISCONSIN AVE NW, WASHINGTON, DC 20016

                                                              (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  KENNETH JAMES LAY                                                                              ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 1117 South 22nd Street, BIRMINGHAM, AL 35205                                                                     .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
     You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of KENNETH WAYNE RICE
     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

           4/3/2017 9:40:57 PM                         /s/ MAGARIA HAMNER BOBO               By:
                     (Date)                                             (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                        /s/ KENNETH JAMES LAY
                                                                (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                         .
                                                                                                         (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                     (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                               (Phone Number of Server)
                Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 36 of 53
State of Alabama                                                                                     Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                     63-CV-2017-900409.00
Form C-34 Rev. 7/2016                                - CIVIL -
                              IN THE CIRCUIT COURT OF TUSCALOOSA COUNTY, ALABAMA
                                     KENNETH WAYNE RICE V. SETERUS INC. ET AL
  NOTICE TO:       JP MORGAN CHASE BANK, C/O CT CORPORATION 2 N. JACKSON ST. STE. 605, MONTGOMERY, AL 36104

                                                              (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  KENNETH JAMES LAY                                                                              ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 1117 South 22nd Street, BIRMINGHAM, AL 35205                                                                     .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
     You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of KENNETH WAYNE RICE
     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

           4/3/2017 9:40:57 PM                         /s/ MAGARIA HAMNER BOBO               By:
                     (Date)                                             (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                        /s/ KENNETH JAMES LAY
                                                                (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                         .
                                                                                                         (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                     (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                               (Phone Number of Server)
                Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 37 of 53
State of Alabama                                                                                     Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                     63-CV-2017-900409.00
Form C-34 Rev. 7/2016                                - CIVIL -
                              IN THE CIRCUIT COURT OF TUSCALOOSA COUNTY, ALABAMA
                                     KENNETH WAYNE RICE V. SETERUS INC. ET AL
                   MORTGAGE ELECTRONIC REGISTRATION SYSTEMS INC., C/O CT CORPORATION 2 N. JACKSON ST. STE.605, MONTGOMERY, AL
  NOTICE TO:       36104
                                                              (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  KENNETH JAMES LAY                                                                              ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 1117 South 22nd Street, BIRMINGHAM, AL 35205                                                                     .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
     You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of KENNETH WAYNE RICE
     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

           4/3/2017 9:40:57 PM                         /s/ MAGARIA HAMNER BOBO               By:
                     (Date)                                             (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                        /s/ KENNETH JAMES LAY
                                                                (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                         .
                                                                                                         (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                     (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                               (Phone Number of Server)
                          DOCUMENT 5
Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 38 of 53
                          DOCUMENT 5
Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 39 of 53
          Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 40 of 53


                                    AlaFile E-Notice




                                                                         63-CV-2017-900409.00
                                                               Judge: JAMES H. ROBERTS JR.
To: LAY KENNETH JAMES
    ken@whlfirm.com




                          NOTICE OF SERVICE
               IN THE CIRCUIT COURT OF TUSCALOOSA COUNTY, ALABAMA

                        KENNETH WAYNE RICE V. SETERUS INC. ET AL
                                 63-CV-2017-900409.00

                          The following matter was served on 4/10/2017

                    D002 FEDERAL NATIONAL MORTGAGE ASSOCIATION
                                       Corresponding To
                                       CERTIFIED MAIL




                                                                 MAGARIA HAMNER BOBO
                                                                   CIRCUIT COURT CLERK
                                                           TUSCALOOSA COUNTY, ALABAMA
                                                                714 GREENSBORO AVENUE
                                                                   TUSCALOOSA, AL, 35401

                                                                                205-349-3870
                                                                    magaria.bobo@alacourt.gov
                          DOCUMENT 7
Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 41 of 53
                          DOCUMENT 7
Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 42 of 53
          Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 43 of 53


                                    AlaFile E-Notice




                                                                         63-CV-2017-900409.00
                                                               Judge: JAMES H. ROBERTS JR.
To: LAY KENNETH JAMES
    ken@whlfirm.com




                          NOTICE OF SERVICE
               IN THE CIRCUIT COURT OF TUSCALOOSA COUNTY, ALABAMA

                        KENNETH WAYNE RICE V. SETERUS INC. ET AL
                                 63-CV-2017-900409.00

                          The following matter was served on 4/10/2017

                D004 MORTGAGE ELECTRONIC REGISTRATION SYSTEMS INC.
                                       Corresponding To
                                       CERTIFIED MAIL




                                                                 MAGARIA HAMNER BOBO
                                                                   CIRCUIT COURT CLERK
                                                           TUSCALOOSA COUNTY, ALABAMA
                                                                714 GREENSBORO AVENUE
                                                                   TUSCALOOSA, AL, 35401

                                                                                205-349-3870
                                                                    magaria.bobo@alacourt.gov
                          DOCUMENT 9
Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 44 of 53
                          DOCUMENT 9
Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 45 of 53
          Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 46 of 53


                                    AlaFile E-Notice




                                                                        63-CV-2017-900409.00
                                                               Judge: JAMES H. ROBERTS JR.
To: LAY KENNETH JAMES
    ken@whlfirm.com




                          NOTICE OF SERVICE
               IN THE CIRCUIT COURT OF TUSCALOOSA COUNTY, ALABAMA

                        KENNETH WAYNE RICE V. SETERUS INC. ET AL
                                 63-CV-2017-900409.00

                          The following matter was served on 4/7/2017

                                     D001 SETERUS INC.
                                       Corresponding To
                                       CERTIFIED MAIL




                                                                 MAGARIA HAMNER BOBO
                                                                   CIRCUIT COURT CLERK
                                                           TUSCALOOSA COUNTY, ALABAMA
                                                                714 GREENSBORO AVENUE
                                                                   TUSCALOOSA, AL, 35401

                                                                               205-349-3870
                                                                   magaria.bobo@alacourt.gov
                          DOCUMENT 11
Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 47 of 53
                          DOCUMENT 11
Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 48 of 53
          Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 49 of 53


                                    AlaFile E-Notice




                                                                        63-CV-2017-900409.00
                                                               Judge: JAMES H. ROBERTS JR.
To: LAY KENNETH JAMES
    ken@whlfirm.com




                          NOTICE OF SERVICE
               IN THE CIRCUIT COURT OF TUSCALOOSA COUNTY, ALABAMA

                        KENNETH WAYNE RICE V. SETERUS INC. ET AL
                                 63-CV-2017-900409.00

                          The following matter was served on 4/7/2017

                               D003 JP MORGAN CHASE BANK
                                       Corresponding To
                                       CERTIFIED MAIL




                                                                 MAGARIA HAMNER BOBO
                                                                   CIRCUIT COURT CLERK
                                                           TUSCALOOSA COUNTY, ALABAMA
                                                                714 GREENSBORO AVENUE
                                                                   TUSCALOOSA, AL, 35401

                                                                               205-349-3870
                                                                   magaria.bobo@alacourt.gov
                          DOCUMENT 13
Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 50 of 53
                          DOCUMENT 13
Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 51 of 53
                          DOCUMENT 13
Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 52 of 53
                          DOCUMENT 13
Case 7:17-cv-00732-RDP Document 1-1 Filed 05/05/17 Page 53 of 53
